Case 9:22-cv-81294-AMC Document 91 Entered on FLSD Docket 09/15/2022 Page 1 of 8




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                CASE NO. 22-81294-CIV-CANNON

  DONALD J. TRUMP,

          Plaintiff,
  v.

  UNITED STATES OF AMERICA,

          Defendant.
                                        /

                           ORDER APPOINTING SPECIAL MASTER

          Following the provision of a notice and opportunity to be heard as required by Rule 53(b)

  of the Federal Rules of Civil Procedure [see ECF Nos. 29, 62], for the reasons set forth in the Order

  dated September 5, 2022 [ECF No. 64], and upon review of the parties’ special master proposals

  [ECF Nos. 83, 85–86],1 it is hereby

          ORDERED AND ADJUDGED as follows:

       1. Pursuant to Rule 53(a)(1)(C) of the Federal Rules of Civil Procedure and this Court’s

          inherent powers and authority, the Honorable Raymond J. Dearie, Senior United States

          District Judge for the Eastern District of New York, is appointed Special Master.

       2. The Special Master shall review all of the materials seized during the August 8, 2022

          execution of a court-authorized search warrant on the premises located at 1100 S. Ocean

          Boulevard, Palm Beach, Florida 33480 (the “Seized Materials”). The specific duties of the

          Special Master are as follows and will include all powers necessary to carry out these

          duties:


  1
    The Court also has considered the various proposals submitted by non-parties to this action
  [ECF Nos. 35, 77–78, 80–81].
Case 9:22-cv-81294-AMC Document 91 Entered on FLSD Docket 09/15/2022 Page 2 of 8

                                                             CASE NO. 22-81294-CIV-CANNON


            a. Verifying that the property identified in the “Detailed Property Inventory”

                [ECF No. 39-1] represents the full and accurate extent of the property seized from

                the premises on August 8, 2022, including, if deemed appropriate, by obtaining

                sworn affidavits from Department of Justice personnel;

            b. Conducting a privilege review of the Seized Materials and making

                recommendations to the Court as to any privilege disputes between the parties

                (including any formal assertions of executive privilege);

            c. Identifying personal items/documents and Presidential Records in the Seized

                Materials and making recommendations to the Court as to any categorization

                disputes between the parties;

            d. Evaluating claims for return of property under Rule 41(g) of the Federal Rules of

                Criminal Procedure; and

            e. Any additional duties assigned to the Special Master by the Court pursuant to

                subsequent orders, upon notice to the parties and an opportunity to be heard with

                regard to such additional duties.

     3. In categorizing Seized Materials as personal items/documents or Presidential Records, the

        Special Master may consult with the National Archives and Records Administration

        (“NARA”).

     4. The Special Master will have the full authority set forth in Rule 53(c) of the Federal Rules

        of Civil Procedure.




                                                    2
Case 9:22-cv-81294-AMC Document 91 Entered on FLSD Docket 09/15/2022 Page 3 of 8

                                                            CASE NO. 22-81294-CIV-CANNON


     5. In reviewing the Seized Materials, the Special Master will follow a precise workflow:

            a. For Seized Materials identified by the Privilege Review Team as potentially

                privileged –

                    i. The Privilege Review Team shall provide copies of the potentially

                       privileged documents to Plaintiff’s counsel.

                   ii. Plaintiff’s counsel shall review the potentially privileged documents and

                       provide to the Special Master a privilege log stating, for each document,

                       whether Plaintiff claims that the document is privileged and, if so, on what

                       basis.

                   iii. The Special Master shall provide the privilege log to the Privilege Review

                       Team and solicit the Privilege Review Team’s position on each document

                       contained therein.

                   iv. If the Privilege Review Team agrees with Plaintiff’s position, the subject

                       document shall be handled in accordance with the parties’ agreement. If the

                       Privilege Review Team disagrees with Plaintiff’s position, the dispute shall

                       go to the Special Master for a report and recommendation and, if either party

                       objects to the report and recommendation, to the Court for de novo review

                       and decision. Failure to object to a report and recommendation within five

                       (5) calendar days shall result in waiver of that objection.

            b. For Seized Materials excluding materials identified by the Privilege Review Team

                as potentially privileged –

                    i. The Government shall do as follows:




                                                 3
Case 9:22-cv-81294-AMC Document 91 Entered on FLSD Docket 09/15/2022 Page 4 of 8

                                                           CASE NO. 22-81294-CIV-CANNON


                          aa.      Provide to Plaintiff’s counsel copies of documents not

                                   marked as classified;

                          bb.      Make available for inspection by Plaintiff’s counsel, with

                                   controlled access conditions (including necessary clearance

                                   requirements) and under the supervision of the Special

                                   Master, the documents marked as classified and the papers

                                   attached to such documents; and

                          cc.      Make available for inspection by Plaintiff’s counsel any non-

                                   documentary items.

                ii. Plaintiff’s counsel shall review the materials, allocate each of them to one

                    of four mutually exclusive categories listed below, and prepare and provide

                    to the Special Master a log stating, for each item or document, the particular

                    category claimed and on what basis. The four categories are as follows:

                            aa.    Personal items and documents not claimed to be privileged;

                            bb.    Personal documents claimed to be privileged;

                            cc.    Presidential Records not claimed to be privileged; and

                            dd.    Presidential Records claimed to be privileged.

                iii. The Special Master shall provide the information contained in the log to the

                    Government (either the Investigative Team or the Privilege Review Team,

                    as appropriate) and solicit the Government’s position on each item or

                    document.

                iv. If the Government agrees with Plaintiff’s position, the subject item or

                    document shall be handled in accordance with the parties’ agreement. If the



                                              4
Case 9:22-cv-81294-AMC Document 91 Entered on FLSD Docket 09/15/2022 Page 5 of 8

                                                            CASE NO. 22-81294-CIV-CANNON


                       Government disagrees with Plaintiff’s position, the dispute shall go to the

                       Special Master for a report and recommendation and, if either party objects

                       to the report and recommendation, to the Court for de novo review and

                       decision. Failure to object to a report and recommendation within five (5)

                       calendar days shall result in waiver of the objection.

     6. The Special Master and the parties shall prioritize, as a matter of timing, the documents

        marked as classified, and the Special Master shall submit interim reports and

        recommendations as appropriate. Upon receipt and resolution of any interim reports and

        recommendations, the Court will consider prompt adjustments to the Court’s orders as

        necessary.

     7. Within ten (10) calendar days following the date of this Order, the Special Master shall

        consult with counsel for the parties and provide the Court with a scheduling plan setting

        forth the procedure and timeline—including the parties’ deadlines—for concluding the

        review and adjudicating any disputes.

     8. As required by Rule 53(b)(2) of the Federal Rules of Civil Procedure, the Court directs the

        Special Master to proceed with all reasonable diligence and to conclude his review and

        classifications by November 30, 2022, subject to modification if necessary as proposed by

        the Special Master.

     9. The Special Master shall file on the docket all written scheduling plans, orders, reports,

        and recommendations, along with any additional information that the Special Master

        believes will assist the Court in reviewing those scheduling plans, orders, reports, and

        recommendations. Any potentially privileged, confidential, or national security material

        that is submitted shall be filed under seal. The Special Master shall, during the pendency



                                                 5
Case 9:22-cv-81294-AMC Document 91 Entered on FLSD Docket 09/15/2022 Page 6 of 8

                                                              CASE NO. 22-81294-CIV-CANNON


        of this matter, including any appeals, preserve any and all documents or other materials

        received from the parties.

     10. The Special Master shall make ex parte reports to the Court on an ongoing basis concerning

        the progress of resolving the issues above.

     11. The parties may file objections to, or motions to adopt or modify, the Special Master’s

        scheduling plans, orders, reports, or recommendations no later than five (5) calendar days

        after the service of each, and the Court shall review those objections or motions, and any

        procedural, factual, or legal issues therein, de novo. Failure to timely object shall result in

        waiver of the objection.

     12. The Special Master shall have access to individuals, information, documents, and materials

        relevant to the orders of the Court that are required for the performance of the Special

        Master’s duties, subject to the terms of this Order. Such materials shall be provided to the

        Special Master on an ex parte basis as the Special Master sees fit. The Special Master may

        communicate ex parte with the Court or either party to facilitate the review; provided,

        however, that all final decisions will be served simultaneously on both parties to allow

        either party to seek the Court’s review.

     13. At a minimum, the Government shall make available to the Special Master the Seized

        Materials, the search warrant executed in this matter, and the redacted public versions of

        the underlying application materials for the search warrant.

     14. Plaintiff shall bear 100% of the professional fees and expenses of the Special Master and

        any professionals, support staff, and expert consultants engaged at the Special Master’s

        request. The procedures for establishing and paying the Special Master’s compensation

        and expenses shall be determined in a later order. Within ten (10) calendar days following



                                                   6
Case 9:22-cv-81294-AMC Document 91 Entered on FLSD Docket 09/15/2022 Page 7 of 8

                                                             CASE NO. 22-81294-CIV-CANNON


        the date of this Order, the Special Master and counsel for the parties shall confer on this

        issue, and the Special Master shall submit a proposal for the Court’s approval as to the

        procedures for paying the Special Master’s compensation and expenses.

     15. If the Special Master determines that the efficient administration of the Special Master’s

        duties requires the assistance of additional professionals, support staff, or expert

        consultants, the Special Master may submit a work proposal to the parties, who will have

        two (2) calendar days to submit comments, after which time the Special Master may

        submit the proposal to the Court for consideration and approval.

     16. As an agent and officer of the Court, the Special Master and those working at the Special

        Master’s direction shall enjoy the same protections from being compelled to give testimony

        and from liability for damages as enjoyed by other federal judicial adjuncts performing

        similar functions.

     17. The Special Master shall be discharged or replaced only upon order of this Court. The

        Court reserves the right to remove the Special Master.

     18. The parties and their agents and employees shall faithfully observe the requirements of this

        Order and fully cooperate with the Special Master in the performance of their duties.

     19. Consistent with and in furtherance of this Order, the Court will separately enter a judicial

        protective order that sets forth restrictions on disclosure for both the Special Master and

        the parties, and any agents or employees thereof. The parties shall submit a proposed

        protective order within five (5) calendar days following the date of this Order.

     20. The Non-Party Motions for Consideration for Special Master [ECF Nos. 77–78] are

        DENIED.




                                                  7
Case 9:22-cv-81294-AMC Document 91 Entered on FLSD Docket 09/15/2022 Page 8 of 8

                                                       CASE NO. 22-81294-CIV-CANNON


          DONE AND ORDERED in Chambers at Fort Pierce, Florida this 15th day of September

  2022.


                                                    _________________________________
                                                    AILEEN M. CANNON
                                                    UNITED STATES DISTRICT JUDGE

  cc:     counsel of record




                                             8
